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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *
                                                *
v.                                              *            Criminal No. PJM 00-0424
                                                *
                                                *
ROBERT HENRY DAVIS                              *
                                                *
               Defendant.                       *

                                 MEMORANDUM OPINION

       Defendant Robert Davis was sentenced to life imprisonment in September 2001, after a

jury found him guilty of drug crimes. The Fourth Circuit affirmed Davis’ conviction and

sentence on appeal. 67 Fed. Appx. 771 (4th Cir. 2003). Since his incarceration, Davis has filed

numerous motions attacking his sentence. His latest motion (Dkt. 660), based on Fed. Rule

Crim. Proc. 36, seeks to “correct errors” in his Pre-Sentence Report (PSR), which was prepared

11 years ago. For the reasons discussed below, the Court lacks jurisdiction to amend the PSR at

this time and therefore DENIES Davis’ Motion.

                                               ***

       Davis argues that his PSR is incorrect because: (1) the U.S. Probation Office failed to

include the date on which he was released from a 1975 sentence, instead listing the date as

“unknown,” as a result of which the previous sentence was improperly counted in calculating

Davis’ criminal history score; and (2) the U.S. Probation Office failed to include the date on

which Davis was sentenced to a one-year term of probation in 1994 and failed to acknowledge

that that sentence was terminated after six months, which resulted in him being improperly

awarded additional criminal history points.




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       The purpose of Rule 36 is to address clerical errors; it is not the proper vehicle for

challenging the substance of information in a PSR. See U.S. v. Wilkes, 376 Fed. Appx. 295 (4th

Cir. 2010). Though Davis argues that these alleged errors in the PSR are “omissions” and

“oversights,” in no sense are they typographical mistakes. The proper vehicle to challenge them

would have been pursuant to Rule 32(f), which requires that challenges be filed within 14 days

of receipt of the PSR. Since 14 days passed over a decade ago, this Court lacks jurisdiction to

entertain Davis’ motion at the very late date. See, e.g., U.S. v. Hawkins, 421 Fed. Appx. 261 (4th

Cir. 2011); U.S. v. Boardley, 61 Fed. Appx. 904 (4th Cir. 2003).1 The Motion is therefore

DENIED.

       A separate Order will be ENTERED.




                                                                         /s/                    ___

                                                           PETER J. MESSITTE
November 1, 2012                                      UNITED STATES DISTRICT JUDGE




1
 The Court notes in addition that it appears changing Davis’ criminal history would not affect
his sentence or his security classification, in any event.
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